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   9
                                  UNITED STATES DISTRICT COURT
  10
                                             SOUTHERN DISTRICT
  11
          HELIX ENVIRONMENTAL                             Case No.: 3:18-cv-02000-AJB-NLS
  12      PLANNING, INC., a California
          corporation,
  13                                                       REPLY TO DEFENDANT’S
                                                           OPPOSITION TO PLAINTIFF’S
  14                            Plaintiff,                 MOTION FOR ENTRY OF
  15                                                       DEFAULT JUDGMENT
               vs.
  16
                                     Judge: Hon. A.J. Battaglia
  17      HELIX ENVIRONMENTAL AND Courtroom: 4A
          STRATEGIC SOLUTIONS, a
  18      California corporation,    Date: May 30, 2019
                                     Time: 2:00pm
  19                      Defendant.
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       Reply to Defendant’s Opposition to Plaintiff’s Motion for Entry of Default Judgment
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   1                                           I. INTRODUCTION
   2           Plaintiff Helix Environmental Planning, Inc. (“Plaintiff”) respectfully
   3   submits this Reply to the Opposition filed by Helix Environmental and Strategic
   4   Solutions (Defendant) in response to Plaintiff’s Motion for Entry of Default
   5   Judgment. In this Reply, Plaintiff presents both factual and legal
   6   counterarguments to the points raised in Defendant’s Opposition. Plaintiff
   7   ultimately requests that the Court grant Plaintiff’s Motion for Entry of Default
   8   Judgment.
   9                                          II.      ARGUMENT
  10           A.      Factual Counterarguments
  11           The main factual misrepresentation in Defendant’s Opposition is that
  12   Plaintiff “denied [Defendant] every courtesy possible” in order to “[deprive]
  13   Defendant of an opportunity to participate in a fair adversarial process.” [Dkt. 12,
  14   at 6-7.] Far from denying every courtesy possible, Plaintiff waited nearly a year
  15   after first contacting Defendant in September 2017 to file a Complaint in August
  16   2018. [See Decl. Elizabeth Donavan (Dkt. 14-2), ¶ 3.] Meanwhile, Plaintiff
  17   unequivocally and repeatedly told Defendant that litigation would ensue if
  18   Defendant did not stop using the phrase “Helix Environmental” to offer, advertise,
  19   and sell environmental consulting services similar to Plaintiff’s. Between
  20   September 2017 and August 2018, Plaintiff’s attorneys sent Defendant at least six
  21   different letters with this same, clear message. [See Decl. Elizabeth Donavan
  22   (Dkt. 14-2), Exhibits 1, 3, 5, 7; Decl. Gary Eastman (Dkt. 14-1), Exhibits 1–2, 4.]
  23   Plaintiff never withdrew its allegations of trademark infringement and continued
  24   giving Defendant these opportunities pre-litigation to stop the infringement.
  25   Plaintiff desired to resolve the problem amicably and out-of-court, as Defendant
  26   itself implicitly admits in its own proposed answer. 1
  27
       1
  28    Indeed, Defendant’s proposed Answer includes twenty affirmative defenses, including laches,
       acquiescence, and estoppel. [Dkt. 9-3, at 6-7, 9.] Plaintiff was actively trying to persuade
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   1           Even after filing the Complaint, Plaintiff still extended the courtesy of
   2   offering a Rule 4(b) waiver of service, thus extending Defendant’s deadline for an
   3   Answer to sixty (60) days from the date the waiver was sent. [See Dkt. 4.]
   4   Plaintiff proposed the waiver “[a]s a courtesy to the Defendant, and in an effort to
   5   minimize the expense of litigation,” in hopes that Defendant would finally agree
   6   to stop using the trademark. [Dkt. 7-1, at 1.] Defendant in its Opposition quotes
   7   Plaintiff’s assurance that the 4(b) waiver would “allow [] 60 days to further
   8   discussions of the resolution of the matter without your client having to file an
   9   Answer or otherwise respond.” [Dkt. 12, at 7, emphasis retained from
  10   Defendant’s Opposition.] Defendant selectively highlights the portion that, when
  11   taken out of context, might appear to support Defendant’s misleading assertion
  12   that it did not need to respond to the lawsuit. In doing so, Defendant ignored the
  13   critical first words: “allow [] 60 days.” The parties’ mutual understanding was
  14   that Defendant’s obligation to respond was merely postponed until December 24,
  15   2018, not eliminated. Still, Defendant failed to file an Answer or otherwise
  16   respond to the Complaint. Although Defendant claims that it requested an
  17   additional extension [Dkt. 12, at 7-8], Plaintiff had no obligation to agree to
  18   extend the time, especially considering that the parties had already been at a
  19   stalemate since as early as November 2017 and further discussions were likely to
  20   be futile. [See Decl. Elizabeth Donavan (Dkt. 14-2), ¶ 8; Ex. 5.]
  21           Plaintiff’s Request for Entry of Clerk’s Default and Motion for Entry of
  22   Default could not have been a “procedural sleight of hand” [see Dkt. 12, at 6],
  23   when Plaintiff gave Defendant a full ten days’ notice before requesting entry of
  24   clerk’s default. Plaintiff sent its notice letter to Defendant on January 8, 2019.
  25   [Dkt. 7-1, at 1.] Although Defendant now acknowledges that it received the letter
  26   on that date, it chose not to respond until January 18, 2019, when the ten days had
  27
  28   Defendant to cease infringement and resolve the dispute out of court, which Defendant
       deceptively attempts to characterize as an unreasonable delay in filing suit.
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   1   already passed and Plaintiff was prepared to file its request. [Decl. Gary Eastman
   2   (Dkt. 14-1), ¶ 14.]
   3           Defendant emphasizes its “expeditious” participation proceedings since
   4   January 30, 2019, after the Clerk had already entered default for Plaintiff. [Dkt.
   5   12, at 3.] But Defendant’s participation was required long before then, at least on
   6   December 24, 2018, when an Answer or other responsive pleading was due.
   7   Plaintiff generously gave Defendant the chance to correct that error during the ten-
   8   day period between January 8, 2019, when it sent the notice letter to Defendant,
   9   and January 18, 2019, when it finally filed the Request for Entry of Clerk’s
  10   Default. Defendant’s purposeful failure to acknowledge the intent letter until the
  11   very last minute continues Defendant’s pattern of drawing out unproductive
  12   negotiations to stall litigation—while Defendant continues to tarnish Plaintiff’s
  13   goodwill and business reputation. The Court should not allow these bad-faith
  14   tactics to continue and thus should grant Plaintiff’s Motion.
  15           B.      Legal Counterarguments
  16           Contrary to Defendant’s arguments, Eitel factors 2 and 3 (merit and
  17   sufficiency of the allegations) and factor 5 (possibility of dispute over material
  18   facts) support default judgment. While choosing to focus on those factors in this
  19   Reply, Plaintiff does not concede any of the other factors.
  20           1.      Eitel Factors 2 and 3: Merit and Sufficiency of Allegations
  21           Plaintiff satisfied the pleading requirement associated with Eitel factors 2
  22   and 3. Defendant acknowledged in its Opposition that these two factors, which
  23   evaluate the merit and sufficiency of Plaintiff’s claims, share the same pleading
  24   standard as a Rule 12(b)(6) motion to dismiss. [Dkt. 12, at 4.] When a defendant
  25   files a 12(b)(6) motion to dismiss, “the Court must determine whether the
  26   Plaintiff’s allegations, taken as true, sufficiently state a claim for Plaintiff’s
  27   various causes of action.” Spy Optic, Inc. v. Alibaba.com, Inc., 163 F. Supp. 3d
  28   755, 765 (C.D. Cal. 2015) (emphasis added). Similarly, in default proceedings,

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   1   the Ninth Circuit has held that “[w]ith respect to the determination of liability and
   2   the default judgment itself, the general rule is that well-pled allegations in the
   3   complaint regarding liability are deemed true.” Fair Housing of Marin v. Combs,
   4   285 F.3d 899, 906 (9th Cir. 2002). Under Twombly, a factual allegation is well-
   5   pled if it is “enough to raise a right to relief above the speculative level on the
   6   assumption that all of the complaint’s allegations are true.” Bell Atlantic Corp. v.
   7   Twombly, 550 U.S. 544, 545 (2007).
   8           The allegations in the complaint demonstrate entitlement to relief beyond
   9   speculation. Importantly, trademark infringement requires only a “likelihood” of
  10   confusion, not a certainty or probability. 15 U.S.C. § 1114(1). And under the
  11   12(b)(6) pleading standard, the Plaintiff need only suggest the existence of a
  12   “likelihood” beyond mere speculation in order to qualify for default judgment.
  13   Plaintiff does just that; in its Complaint, Plaintiff sufficiently establishes that
  14   consumers are likely to be confused between “Helix Environmental Planning” and
  15   “Helix Environmental and Strategic Solutions” both offering environmental
  16   consulting services. [Complaint, ¶¶ 32–56.]
  17           In Hostzilla, Ltd. v. Hostzilla, Inc., two similarly named companies were
  18   both offering web-hosting services. [Complaint at 2–3, Hostzilla, Ltd. v.
  19   Hostzilla, Inc., No. 2:12cv10616 (C.D. Cal. Feb. 25, 2013).] As in the present
  20   case, the plaintiff’s complaint alleged that the plaintiff was the first user of the
  21   trademark and that the defendant’s use of the same trademark caused a likelihood
  22   of confusion, along with damage to the plaintiff’s goodwill and business
  23   reputation. [Complaint at 10, Hostzilla, Ltd. v. Hostzilla, Inc., No. 2:12cv10616
  24   (C.D. Cal. Feb. 25, 2013).] The plaintiff sought only an injunction, and no
  25   damages, via default judgment. Hostzilla, Ltd. v. Hostzilla, Inc., No.
  26   2:12cv10616, 2013 WL 12142839, at *1 (C.D. Cal. Feb. 25, 2013). Based on the
  27   allegations and the nature of the relief sought, the Court granted default judgment
  28   as to the plaintiff’s trademark infringement and unfair competition claims. Id.

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   1           Like in Hostzilla, there are a plethora of undisputed facts showing
   2   Plaintiff’s ownership of the “Helix Environmental Planning” trademark and
   3   Defendant’s use of a confusingly similar trademark in the same or similar
   4   industry. Defendant incorrectly argues in its opposition that Plaintiff, by
   5   discussing only four of the eight Sleekcraft factors, failed to sufficiently plead
   6   likelihood of confusion. [Dkt. 12, at 5.] Defendant misconstrues the nature of the
   7   Sleekcraft factors: a plaintiff need not directly address all factors to prove
   8   likelihood of confusion. See Brookfield Commuc’ns, Inc. v. W. Coast Ent’mt
   9   Corp., 174 F.3d 1036, 1054 (9th Cir. 1999). “Although some factors—such as the
  10   similarity of the marks and whether the two companies are direct competitors—
  11   will always be important, it is often possible to reach a conclusion with respect to
  12   likelihood of confusion after considering only a subset of the factors.” Id.
  13   Plaintiff’s Sleekcraft analysis appropriately focused on the two most important
  14   factors, similarity of the marks and relatedness of the services, as well as the
  15   strength of the plaintiff’s mark and the similarity of the parties’ respective trade
  16   channels. [Dkt. 7-1, at 8.]
  17           Particularly probative of likely confusion is Defendant’s use of “Helix
  18   Environmental,” the portion of Plaintiff’s registered trademark entitled to the most
  19   weight, as the opening phrase of “Helix Environmental and Strategic Solutions”—
  20   without even changing the order of the words. This bears on one Sleekcraft factor,
  21   which evaluates the similarity of the parties’ marks based on “[how] they appear
  22   in the marketplace . . . in terms of appearance, sound, and meaning.” GoTo.com,
  23   Inc. v. Walt Disney Co., 202 F.3d 1199, 1206 (9th Cir. 2000). Defendant does not
  24   dispute that it borrows the phrase “Helix Environmental” in its own mark. Rather,
  25   Defendant argues that the Plaintiff’s trademark is unenforceable despite having
  26   recently received federal registration in June 2018. [Dkt. 9-1, at 6.] Defendant
  27   unsuccessfully tilts at the following windmills: (1) the presumption of validity that
  28   comes with a Principal Register trademark registration, (2) the fact that “Helix

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   1   Environmental” is simply not primarily geographically descriptive, and (3) the
   2   fact that Plaintiff’s trademark “Helix Environmental Planning” has acquired
   3   ample secondary meaning within the public over the past 27 years of continuous
   4   use in commerce. [See Dkt. 14, at 10–12.] Moreover, Plaintiff is often referred to
   5   in the industry as its shortened name “Helix Environmental”, further supporting a
   6   likelihood of confusion. [See Dkt. No. 1, at 11, 14, 16]. Based on the facts
   7   presented, Plaintiff’s mark is enforceable. Given the mark’s enforceability,
   8   Defendant unarguably replicates the distinctive portion of Plaintiff’s trademark.
   9   Therefore, this Sleekcraft factor favors Plaintiff.
  10           Equally probative is the relatedness of the parties’ goods or services.
  11   Defendant’s business need not be identical to Plaintiff’s; the parties’ businesses
  12   are sufficiently related to give rise to a likelihood of confusion. [See Dkt. 14, at
  13   12.] This second Sleekcraft factor posits that selling related goods or services is
  14   more likely to cause consumer confusion. Brookfield Commuc’ns, 174 F.3d at
  15   1055–56. Services are “related” if they “would be reasonably thought by the
  16   buying public to come from the same source if sold under the same mark.”
  17   Interplay Ent’mt Corp. v. TopWare Interactive, Inc., 751 F. Supp. 2d 1132, 1137
  18   (C.D. Cal. 2010), quoting Au-Tomotive Gold, Inc. v. Volkswagen of Am., Inc., 457
  19   F.3d 1062, 1076 n.10 (9th Cir. 2006). This definition fits the facts at hand:
  20   Plaintiff’s business offers many different categories of services related to
  21   environmental consulting and compliance,2 including federal regulatory
  22   compliance, and federal regulatory compliance is exactly what Defendant offers.
  23           The Ninth Circuit has held that goods or services are related when the
  24   defendant’s services are a subset of what the plaintiff offers. See Dreamwerks
  25   Prod. Grp., Inc. v. SKG Studio, 142 F.3d 1127, 1131 (9th Cir. 1998) (holding that
  26   “Dreamwerks” science fiction conventions were services “related” to the
  27
       2
  28    These categories include habitat restoration, acoustics and noise control, regulatory permitting,
       and air quality. See Plaintiff’s website, www.helixepi.com/services/ceqanepa-compliance-2/.
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   1   Dreamworks entertainment conglomerate because the diversity of Dreamworks’s
   2   products and services could lead consumers to reasonably believe that
   3   Dreamworks could host conventions). Here, Defendant specializes in federal
   4   Occupational Safety and Health Administration (OSHA) compliance, while
   5   Plaintiff offers a broader array of services including compliance with the National
   6   Environmental Policy Act (NEPA). 3 As OSHA and NEPA are both federal
   7   regulations, public agencies may be accountable to both sources of regulation,
   8   creating significant overlap between Plaintiff’s and Defendant’s businesses.
   9   Public agencies have already experienced actual confusion as a result, as shown
  10   by an email from a CalTrans agent to Plaintiff, asking Plaintiff about a business
  11   certification belonging to Defendant and attaching a California Department of
  12   General Services report for Defendant. [Decl. Tamara S. Ching. ¶¶ 3-10; Decl.
  13   Gary Eastman (Dkt. 14-1), Ex. 3.] CalTrans had already been a significant client
  14   of Plaintiff, and the above-mentioned email shows the danger of CalTrans
  15   accidentally transferring its business to Defendant. Id. This evidence of actual
  16   confusion exemplifies the type of harm that trademark infringement laws are
  17   designed to prevent. Both Plaintiff’s and Defendant’s businesses offer services in
  18   the field of federal environmental and safety regulation. Someone seeking
  19   Defendant’s services could reasonably believe that Defendant’s services are
  20   within the scope of Plaintiff’s multi-purpose business. Therefore, this second
  21   Sleekcraft factor favors Plaintiff.
  22           In addition to these two Sleekcraft factors (similarity of the marks and
  23   relatedness of the services), Plaintiff’s Opposition discussed two additional factors
  24   that favor Plaintiff: the strength of the plaintiff’s mark and the relatedness of trade
  25   channels utilized by the parties. [Dkt. 7-1, at 8–9.] The combined strength of all
  26   four Sleekcraft factors is enough to show a likelihood of confusion. Compare
  27
       3
  28    See Plaintiff’s website, www.helixepi.com/services/ceqanepa-compliance-2/; see Defendant’s
       website www.helixenvironmental.com/.
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   1   Dreamwerks, 142 F.3d at 1130 (adjudicating likelihood of confusion based on
   2   only three Sleekcraft factors, including similarity of the marks and relatedness of
   3   the services).
   4           Once trademark infringement has been established, it is fairly easy to also
   5   establish the elements of unfair competition and cybersquatting. Cybersquatting
   6   simply requires the additional element of bad-faith. 15 U.S.C. § 1125(d)(1)(a)(i).
   7   As Plaintiff alleged in its Complaint and again in its Motion for Entry of Default
   8   Judgment, bad-faith is shown by Defendant’s undisputed knowledge of the
   9   existence of Plaintiff’s mark, coupled with Defendant’s adamant refusal to stop
  10   using the infringing mark to this point of forcing default proceedings. [Complaint,
  11   ¶ 31; Dkt. 7-1, at 12.] Refusal to discontinue infringing conduct after being put on
  12   notice of the conduct’s unlawfulness is evidence of bad faith. City of Carlsbad v.
  13   Shah, 850 F. Supp. 2d 1087, 1106 (S.D. Cal. 2012). Thus, this Court should
  14   decide that all of Plaintiff’s claims warrant default judgment.
  15           2.      Eitel factor 5: Possibility of Dispute Over Material Facts
  16           As to Eitel factor 5, Defendant has not disputed any of the material facts
  17   underlying Plaintiffs assertions: the “Helix Environmental” trademarks being used
  18   by the two companies; the context of their usage, including in the companies’
  19   respective domain names; the services rendered by the two companies; the
  20   existence of Plaintiff’s trademark registration; and Defendant’s awareness of the
  21   existence of Plaintiff’s mark. Rather, Defendant argues that there is a possibility
  22   of a dispute of material facts because “likelihood of confusion is an ultimate
  23   question of fact that is vigorously disputed in litigation after intensive fact and
  24   expert discovery.” [Dkt. 12, at 4.] Defendant, citing National Photo Group, LLC
  25   v. Pier Corporation, 2014 U.S. Dist. LEXIS 195663 (C.D. Cal. Mar. 10, 2014),
  26   implies that Defendant has automatically disputed material facts simply by
  27   moving to set aside default and requesting leave to file an answer. [Dkt. 12, at 7.]
  28   But all National Photo Group held was that the absence of a motion to set aside

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    1   default or any effort to respond to the Complaint reduces the possibility of a
    2   dispute over material facts. Nat’l Photo Grp., LLC v. Pier Corp., 2014 U.S. Dist.
    3   LEXIS 195663, at *6 (C.D. Cal. Mar. 10, 2014). It did not suggest that a motion
    4   to set aside default or a proposed answer bends this Eitel factor in the defendant’s
    5   favor. Where, like here, the facts show both Plaintiff’s ownership of a valid
    6   trademark and Defendant’s use of a near-identical mark to advertise and offer
    7   related services, this Court may conclude that likelihood of confusion is not
    8   disputed. See, e.g., Am. Tire Distributors v. Am. Tire Corp., 2009 WL 10672268,
    9   No. cv 08-02971, at *11 (C.D. Cal. June 10, 2009) (holding that likelihood of
   10   confusion was not disputed even though the defendant had filed a motion to set
   11   aside default). Plaintiff’s factual allegations, taken to be true, reveal not only
   12   likely but actual confusion. Between the similar marks and existence of actual
   13   confusion, an attempt by Defendant to deny a likelihood of confusion cannot
   14   possibly raise a genuine issue of fact, and Eitel factor 5 thus favors Plaintiff.
   15           C.      The Admissions in Defendant’s Proposed Answer
   16           Relevant to Eitel factors 5 (the possibility of a dispute concerning material
   17   facts) and 9 (the policy favoring decisions on the merits), Defendant’s proposed
   18   answer is insufficient to avoid judgment on the pleadings in favor of Plaintiff.
   19   The facts relevant to a finding of trademark infringement are undisputed in the
   20   proposed answer, and no basis or facts are provided to suggest that any of the
   21   affirmative defenses are applicable. In particular, the proposed answer admits that
   22   Plaintiff is the owner of a federal registration for the mark “HELIX
   23   ENVIRONMENTAL PLANNING” [Dkt. 9-3, ¶ 22], and that Defendant is using
   24   the name HELIX ENVIRONMENTAL and the domain name
   25   www.helixenvironmental.com in connection with environmental services
   26   throughout southern California [Dkt. 9-3, ¶¶ 23-26].4 As discussed above and in
   27
        4
   28     Plaintiff notes that in the proposed answer, Defendant also “admits” to something never
        alleged in the complaint – that Plaintiff allegedly “did not communicate with Defendant
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    1   the Points and Authorities in Support of Plaintiff’s Motion for Entry of Default
    2   Judgment [Dkt. 7], this alone is sufficient for a finding of trademark infringement.
    3           Since judgment in favor of Plaintiff would be appropriate even if
    4   Defendant’s proposed answer were filed, Plaintiff’s Motion for Entry of Default
    5   Judgment should be granted.
    6
    7                                         III.         CONCLUSION
    8           Defendant’s Opposition suffered several critical deficiencies. Factually,
    9   with respect to the dealings between the parties leading to the Clerk’s entry of
   10   default judgment, Plaintiff did not mislead or attempt to trick Defendant in any
   11   way. Plaintiff simply sought Defendant’s cooperation in either discontinuing the
   12   trademark infringement or participating in the judicial proceedings. When it
   13   became clear that Defendant would do neither of these things, Plaintiff’s only
   14   option was to initiate default proceedings. Plaintiff has made true, undisputed
   15   factual allegations demonstrating that Plaintiff is entitled to relief for trademark
   16   infringement, unfair competition, and cybersquatting. Defendant’s proposed
   17   answer admits sufficient allegations to support judgment in favor of Plaintiff.
   18   This Court should thus grant Plaintiff’s Motion for Entry of Default Judgment and
   19   award Plaintiff its requested remedies.
   20                                                     Respectfully submitted,
   21   Dated: February 26, 2019
   22                                                     Eastman & McCartney LLP

   23                                                     By: /s/ Gary L. Eastman
   24                                                         Gary L. Eastman, Esq.
                                                              Attorney for Plaintiff
   25
   26
   27   regarding its alleged trademark rights prior to filing this action” – and, in doing so, knowingly
        lied to this Court. [Dkt. 9-3, ¶ 28; see Dkt. 14-2, Exhibits 1-2, containing correspondence from
   28   Plaintiff to Defendant, and a reply from Defendant’s counsel in September 2017, nearly a year
        before the complaint was filed].
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                                           CERTIFICATE OF SERVICE
    1
    2           I, the undersigned certify and declare as follows:

    3          I am over the age of eighteen years and not a party to this action. My business address is
        401 West A Street, Suite 1785, San Diego, California, 92101, which is located in the county
    4
        where the service described below took place.
    5
                On February 26, 2019, at my place of business in San Diego, California, I served a copy
    6   of the following document:
    7
        REPLY TO DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR ENTRY
    8   OF DEFAULT
    9   The undersigned hereby certifies that he caused a copy of the foregoing documents to be filed
   10   with the clerk of the U.S. District Court, Southern District of California, using the CM/ECF
        filing system, and a copy will be electronically mailed to the following recipients via ECF
   11   electronic service:
   12
        Chris Arledge, Esq.
   13   One LLP
   14
        4000 MacArthur Blvd, East Tower Ste. 500
        Newport Beach, CA 92660
   15
   16   Attorney for Helix Environmental and Strategic Solutions
   17
   18         I certify and declare under penalty of perjury under the laws of the United States of
        American and the State of California that the foregoing is true and correct.
   19
        Executed on February 26, 2019, in San Diego, California.
   20
                                              By:         /s/ Gary Eastman
   21
                                                          Gary Eastman
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        Reply to Defendant’s Opposition to Plaintiff’s Motion for Entry of Default Judgment
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